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11
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12

13   UNITED STATES OF AMERICA,                         )   NO. 22-cr-000016-HSG
                                                       )
14           Plaintiff,                                )   STIPULATION AND ORDER TO SEAL
                                                       )   TRANSCRIPT OF SENTENCING HEARING AND
15      v.                                             )   PUBLICLY RELEASE A REDACTED
                                                       )   TRANSCRIPT
16   JAMES THEODORE HIGHHOUSE,                         )
                                                       )
17           Defendant.                                )
                                                       )
18
19           On January 18, 2022, the undersigned prosecutor filed a five-count information, charging the
20 defendant with felonies related to his conduct as a chaplain while employed by the Bureau of Prisons at

21 FCI-Dublin. (Doc. 1). The defendant entered a guilty plea to the information on February 23, 2022. The

22 defendant was sentenced on August 31, 2022.

23           During the sentencing hearing, the undersigned prosecutor used the first names of the victims,
24 both of charged and uncharged conduct. The United States requests, and counsel for the defendant

25 agrees, that the transcript of the sentencing hearing be sealed, and that a redacted version instead be

26 released publicly. In that redacted version, the parties request that the first names of the victims be

27 replaced with the victims’ corresponding initials that the United States used in the information (Doc. 1)

28
     STIPULATION AS TO SEALING OF SENTENCING TRANSCRIPT
     AND ORDER
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